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                    \IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

 ROBERT BOLD, ANNETTE BOLD,
 SPENCER BOLD, REGAN BOLD,                                   CV-18-109-GF-BMM
 ALEXANDRA BOLD, and X HANGING
 DIAMOND RANCH, INC,
                                                                      ORDER
                            Plaintiffs,

        vs.

 NUTRIEN AG SOLUTIONS, INC. f/k/a
 CROP PRODUCTION SERVICES, INC.,
 and LOVELAND PRODUCTS, INC.,

                            Defendant.




                                  INTRODUCTION

      Plaintiffs Robert Bold, Annette Bold, Spencer Bold, Regan Bold, Alexandra

Bold, and X Hanging Diamond Ranch, Inc. (collectively, “Plaintiffs”) filed this

action against Nutrien Ag Solutions, Inc. f/k/a Crop Production Services, Inc. and

Loveland Products (collectively, “Defendants”). (Doc. 1, 3). Plaintiffs allege

Defendants committed a number of violations, including: negligence, breach of

implied warranty, breach of express warranty, negligence per se, breach of

warranty of merchantability, strict liability/defective design, strict liability/failure

to warn, strict liability/abnormally dangerous activity, violation of state consumer
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protection law, and negligent misrepresentation. (Doc. 3). Defendants filed

counterclaims for breach of contract and to claim an outstanding account balance

that Plaintiffs allegedly owe Defendants. (Doc. 29). There are several motions

pending in this case. (Docs. 77, 85, 88, 90, 93, 100, 103, 110). The Court held a

hearing on all pending motions on October 19, 2020. (Doc. 143).

                                     ORDER

      For the reasons stated in open Court, IT IS ORDERED:

         • Plaintiffs’ Motion for Summary Judgment (Doc. 77) is DENIED;

         • Defendants’ Motion for Summary Judgment (Doc. 85) is DENIED;

         • Defendants’ Motion for Summary Judgment on Counterclaims (Doc.

             93) is DENIED;

         • Plaintiffs’ Renewed Motion for Sanctions (Doc. 88) is GRANTED in

             part, with regard to leave to amend complaint on or before October

             21, 2020 to add punitive damage claims, and is otherwise DENIED;

         • Plaintiffs’ Motion in Limine (Doc. 90) is DENIED;

         • Defendants’ Motion in Limine (Doc. 100) is DENIED;

         • Defendants’ Motion in Limine (Doc. 103) is DENIED;

         • Defendants’ Motion in Limine (Doc. 110) is GRANTED in part with

             regard to evidence category (a) as described, is DENIED without



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    prejudice with regard to evidence categories (b), (c), and (d), and is

    DEFERRED in part with regard to evidence category (e).

    Dated the 20th day of October, 2020.




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